.L?

¥
l

LANDYEBENNETTBtVNKTHN
791 "\R""ts? EIGHTH AVENUE, SUITE §ZOG

ANCHGRAGF,, ALASKA Q%G§
TELEPHGNE(907)276-5§52,PAX(907)276~84

“3
3

 

 

IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
THIRD JUDICIAL DISTRICT AT ANCHORAGE
BRIAN MARTIN,
Plaintiff,
V,
MCKINLEY CHALET RESORT, LLC
and ARAMARK SPORTS AND
ENTERTAINMENT SERVICES, LLC,

Case No. 3AN»12»9249 CI
Defendants.

\_/\_/\/\/\/\/`./\/\/`,/\_/\/

 

NOTICE T© SUPERIOR COURT OF
REMOVAL TG U.,Sa DISTRICT COURT

 

TO: The Superior Court

For the State of Alaska,

Third Judicial District at Anchorage

Defendant ARAMARK Sports and Entertainment Services, LLC,
by and through its attorneys, Landye Bennett Blumstein LLP,
hereby gives notice pursuant to 28 UDS°C. § la@€(d) that on
the llth day of September, 2012, it filed a Notice of Removal
of this Action to the United States District Court for the
District of Alaska at Anchorage, a copy of which is attached
hereto as Exhibit §.

The Superior Court of Alaska, Third Judicial District at
Anchorage, is respectfully requested to proceed no further in

this action, unless and. until the case is remanded. by the

United States District Court.

   

:‘.:l/,/`>\ "T‘},'~,,

Martin v. McKinley Chalet Resort LLC, et al.
Notice to Superior Court of Removal to USDC
Case No. 3AN»12~9249 CI Page l of 2

Case 3:12-cV-00188-HRH Document 1-1 Filed 09/11/12 Page 1 of 2

 

LANn\/E B§NNET? BLM\,¢STEIN tie
70§ Wss'r EIGHTH Avs;\:ct, Sz_:n"§ §2@0

ANCH@RAGE, ALASKA Q%G§

o
3

5 276~843

\

-5152_ FAX §9@7

TELEPHON§ (907> 27 6

 

 

Dated this llth. day of September, 2012 at Anchorage,
Alaska.

LANDYE BENNETT BLUMSTEIN LLP
Attorneys for Defendant

/{6% /' // :/ fw ,,,,,,,,,,,,,,,

Adolf V.VZeman
Alaska Bar No, 0411082

Certificate of Service

 

On September ll, 2012 a true and correct
copy of the foregoing document was sent
by §§ mail or [j handwdelivery to the following:

THOMAS S GINGRAS

EIDE & GINGRAS PC

425 G ST STE 930 ¢ 4
ANCHO§§GE AK 99501 /!~

f///(/…s / '//; :¢/)‘“’,/{/§{/
//7

‘anne Wahhoff ,
!f/

 

 

Martin v. McKinley Chalet Resort LLC, et al.
Notice to Superior Court of Removal to USDC
Case No. 3AN-12~9249 CI Page 2 of 2

Case 3:12-cV-00188-HRH Document 1-1 Filed 09/11/12 Page 2 of 2

 

